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United States District Court
Eastern District of Michigan

TERRILL JOHNSON,

 

Petitioner,
V. Civil Action No. 06-CV-10041
BLAINE LAFLER,

Respondent.

MOTION FOR EVIDENTIARY HEARING

NOW COMES PETITIONER, TERRILL JOHNSON (heretnafter Petitioner), In
pro se, and respectfully request of the District Court to grant this Motion
for Evidentiary Hearing pursuant to Rules Governing Habeas Corpus Cases
under Sectton 2254 Rule 8 (a). In support: Petitioner says the following:

1. Petitioner has filed a pro se Petition for Writ of Habeas Corpus,
Amended Petition and Supporting Brief challenging his state court convictions
and sentences. In his affidavit supporting the petition, Petitioner claims
he was denied effective assistance on appeal because his appellate counsel
was aware of, but falled to make reasonable Investigations tnto particular
witnesses In Petitioner's case who could have testifted that Petitioner
acted in self-defense. These facts do not appear In the record. In addition,
it ts unclear from the state record why trial and/or appellate counsel
failed to challenge the defective verdict form. It is unclear from the
state record why appellate counsel did not ralse this Issue on appeal.

2. Petitioner now seeks an evidentiary hearing to develop a testimontal

record to support his constitutional claims. To the extent that the claim

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ralsed depends on facts not of record, it fs Incumbent on Petitioner to

 

make a testimonial record at this level to support his claim.

3. Petitfoner should be allowed a full and fair opportunity to develop
the facts of his claims. The Court should resolve Pet it loner's claims by
first listening to the witnesses, testing their story, and gauging their
demeanor under examination. Earp v. Ornosk!, 431 F.3d 1158, 1169 (9th Cir,
2005) quoting Blackledge v. Allfson, 431 U.S. 63, 82 n. 25 (1977)("When
the ftssue is one of credibility, resolution on the basts of affidavits
can rarely be conclustve.")

4. As pleadedin Petittoner'’s Amended Petition, the standards under
the antiterrorism and effective death penalty act are not applicable to
four of Petitioner's constitutional claims. See Brief in Support of
Amended Petition at p 19.

5. In Cullen v. Pinholster, __US__; 132 S.Ct. 1388 (2011), the court
explained that 28 U.S.C. 82254(d)(1) would not be applicable where no state
court adjudicated the merits of a constitutional claim. The Cullen court
did go on to say §2254(e)(2) continues to have force where §2254(d)(1) does
not bar federal habeas rellef. Id., 131 S.Ct. at 1401.

The Cullen court cited to Michael Williams, 529 U.S. 420, 427-429
(2000), to support the above conclusion. The Willfams court did explain‘
that §2254(e)(2) would restrict a federal court only where the applicant
"failed" to develop the factual basts of a claim in State court proceedings.
Id.

The Willfams court did state "Diligence will require In the usual case

that the prisoner, at a mimimum, seek an evidentfary hearing In State court

in the manner prescribed by state law." id., 529 U.S. at 437.

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6. Petitioner did comply with all state law In regards to seeking
to obtain an evidentiary hearing. As such, Petitfoner did not "fail" to
seek an evidentiary hearing during his state-court proceeding. Williams,
supra.

7. Petitioner Incorporates by reference herein his petition for writ
of habeas corpus, amended petition, supporting brief and affidavits tn

support.
RELIEF REQUESTED

For the foregoing reasons, Petitioner prays this District Court will

grant the within Motion and Schedule and Conduct an Evidenttary Hearing.

Dated: AO 4S ull. 2.4

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